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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF ILLINOIS
                             EASTERN DIVISION

NOVA DESIGN BUILD, INC. and                   )
ANNEX BUILDERS LLC,                           )
                                              )
                     Plaintiffs,              )
                                              )
             v.                               )    No. 08 C 2855
                                              )
GRACE HOTELS, LLC, et al.,                    )
                                              )
                     Defendants.              )


                            MEMORANDUM OPINION

SAMUEL DER-YEGHIAYAN, District Judge

      This matter is before the court on Defendant Grace Hotels, LLC’s, Defendant

Mukesh Bheda’s, Defendant JS Capital Construction, Inc.’s and Defendant Jeff

Schmitz’s (collectively referred to as “Grace Defendants”) bill of costs and on Grace

Defendants’ motion for attorneys’ fees. For the reasons stated below, we grant the

request for costs and deny the motion for attorneys’ fees without prejudice.




                                   BACKGROUND

      On February 26, 2010, we granted Grace Defendants’ motion for summary

judgment on Plaintiffs’ copyright infringement claims (Count I), and we granted


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Grace Defendants’ motion for summary judgment on the copyright declaration

claims in the counterclaim (Count I). We also declined to exercise supplemental

jurisdiction over the remaining state law claims and terminated the action. Grace

Defendants now seek costs and attorneys’ fees.




                                    DISCUSSION

      Plaintiffs contend that Grace Defendants are not prevailing parties in this case,

and thus are not entitled to costs or attorneys’ fees. Determining whether a party has

a prevailing party status when seeking attorneys’ fees under 17 U.S.C. § 505 or

whether a party is a prevailing party under Federal Rule of Civil Procedure 54(d)

(Rule 54(d)) are separate issues and the court will address each separately. See, e.g.,

Hastert v. Illinois State Bd. of Election Com’rs, 28 F.3d 1430, 1438 (7th Cir.

1993)(indicating that an attorneys’ fee award and a costs award under Rule 54(d) are

not automatically treated the same); See also, e.g., Buckhannon Bd. and Care Home,

Inc. v. West Virginia Dept. of Health and Human Resources, 532 U.S. 598, 603

(2001)(referring to prevailing on the merits for attorneys’ fees recovery); Citizens for

a Better Environment v. Steel Co., 230 F.3d 923, 930 (7th Cir. 2000)(stating that “a

court may lack authority to resolve the merits of a claim yet have jurisdiction to

award costs and attorneys’ fees to the prevailing party”).


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I. Taxable Costs

      Grace Defendants request $2,534.70 in taxable costs relating to court reporter

fees. Rule 54(d) provides that the prevailing party shall be allowed to recover costs

other than attorneys’ fees as a matter of course, unless a statute or other rule states

otherwise or the court specifically disallows such costs. Fed. R. Civ. P. 54(d); see

also 28 U.S.C. § 1920 (setting forth costs that are generally recoverable). The

Seventh Circuit has made it clear that in reviewing a bill of costs, the district court

should keep in mind that “[t]here is a presumption that the prevailing party will

recover costs, and the losing party bears the burden of an affirmative showing that

taxed costs are not appropriate.” Beamon v. Marshall & Ilsley Trust Co., 411 F.3d

854, 864 (7th Cir. 2005). In addition to making sure that the requested costs are

recoverable, a district court must also ensure that the costs are “reasonable and

necessary to the litigation . . . .” Little v. Mitsubishi Motors North America, Inc.,

514 F.3d 699, 702 (7th Cir. 2008); see also Majeske v. City of Chicago, 218 F.3d

816, 824 (7th Cir. 2000)(referring to recoverable and reasonable considerations and

to the “heavy presumption in favor of awarding costs”).

      Plaintiffs contend that Grace Defendants prevailed on jurisdictional grounds

rather than on a decision on the merits, and thus they are not prevailing parties. The

Seventh Circuit has indicated that, in regard to an award of costs under Rule 54(d),


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“success on a fundamental jurisdictional point can make a litigant a ‘prevailing

party.’” Citizens for a Better Environment v. Steel Co., 230 F.3d 923, 930 (7th Cir.

2000)(stating that “when a dismissal for want of jurisdiction forecloses the plaintiff’s

claim, the defendant is the ‘prevailing party’”); see also, e.g., St. John Health

System, Inc. v. Cohen, 2010 WL 1727971, at *6 (N.D. Okla. 2010)(stating that “a

defendant is a ‘prevailing party’ under Rule 54(d) if a plaintiff’s claim is dismissed

for lack of subject matter jurisdiction”). The court ruled in favor of Grace

Defendants and effectively foreclosed Plaintiffs from bringing a new action on the

copyright claims. Citizens, 230 F.3d at 930. Grace Defendants obtained more than

just a moral victory on a minor jurisdictional point. Thus, Grace Defendants are

prevailing parties for the purpose of recovering costs under Rule 54(d). Grace

Defendants have shown that the requested costs are recoverable and reasonable and

have provided sufficient documentation to support the requested costs. Therefore,

we award Grace Defendants $2,534.70 in costs.




II. Attorneys’ Fees

      Grace Defendants request an award of $482,930.00 in attorneys’ fees and

related non-taxible costs pursuant to 17 U.S.C. § 505. Pursuant to 17 U.S.C. § 505,

in a civil copyright action, “the court may . . . award a reasonable attorney’s fee to


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the prevailing party as part of the costs.” Id.




       A. Prevailing Party Status

       Plaintiffs argue that Grace Defendants are not prevailing parties, for the

purposes of an attorneys’ fee award, since Grace Defendants did not prevail on the

merits, but instead on jurisdictional grounds. The Seventh Circuit has pointed out

that the “Supreme Court has adopted a generous formulation of the term prevailing

party; . . . parties are said to have prevailed in litigation for attorney’s fees purposes

if they succeed on any significant issue in litigation which achieves some of the

benefit the parties sought in bringing suit.” King v. Illinois State Bd. of Elections,

410 F.3d 404, 411 (7th Cir. 2005). The Seventh Circuit has indicated that “[a]t a

minimum, to be considered a prevailing party . . . [a party] must be able to point to a

resolution of the dispute which changes the legal relationship between itself and the

defendant.” Id. (internal quotations omitted)(quoting in part Hensley v. Eckerhart,

461 U.S. 424, 437 (1983)).

       In the instant action, Grace Defendants opposed Plaintiffs’ claims in this case

from the beginning of the case, expended resources pursuing a defense, and obtained

a termination of the case by the court in their favor. We dismissed the instant action

based on the fact that Plaintiffs did not deposit an original of the design and


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drawings for their copyright registration, and thus Plaintiffs failed to present a valid

copyright registration, which is a prerequisite to bringing a copyright infringement

claim. (2/26/10 MO 8-11). Plaintiffs contend that they are not foreclosed from

procuring a proper registration and refiling an action against Grace Defendants.

(Ans. 5-6 n.3). However, in ruling in Grace Defendants’ favor, we agreed with

Grace Defendants that the undisputed facts showed that Plaintiffs’ original drawings

had been stolen and were irrevocably lost and that Plaintiffs lacked any reliable

backup information to properly reconstruct their designs. The Seventh Circuit has

indicated that “a dismissal with prejudice makes the defendant the prevailing party

for purposes of an award of attorney’s fees under § 505.” Mostly Memories, Inc. v.

For Your Ease Only, Inc., 526 F.3d 1093, 1099 (7th Cir. 2008). Based on the

undisputed facts, the court ruled in Grace Defendants’ favor and effectively

“foreclose[d]” Plaintiffs from bringing a new action. Citizens, 230 F.3d at 930

(stating that “when a dismissal for want of jurisdiction forecloses the plaintiff’s

claim, the defendant is the ‘prevailing party’”). Grace Defendants were awarded

more than merely a temporary or moral victory with the termination of the instant

action. See, e.g., Petersen v. Gibson, 372 F.3d 862, 865 (7th Cir. 2004)(explaining

that declaratory relief may not confer prevailing party status and “[t]he mere moral

satisfaction of being wronged is insufficient to trigger prevailing party status”).


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Thus, Grace Defendants are prevailing parties for the purpose of the attorneys’ fees

award.




      B. Good Faith/Non-Frivolous Basis

      Plaintiffs argue that the fees and non-taxible costs requested by Grace

Defendants are not all recoverable and are excessive. Plaintiffs contend that the

court should not award fees because “there was nothing factually or legally meritless

about the copyright at issue.” (Ans. 8). However, the application of a good

faith/non-frivolous standard for awarding attorneys’ fees to defendants, such as the

one used in employment discrimination cases, has been rejected in copyright cases.

Eagle Services Corp. v. H2O Industrial Services, Inc., 532 F.3d 620, 624 (7th Cir.

2008); see also Fogerty v. Fantasy, Inc., 510 U.S. 517, 527 (1994)(explaining why

there is not a good faith/non-frivolous standard for awarding attorneys’ fees in a

copyright case). When a defendant prevails in a copyright case, “the presumption in

favor of awarding fees is very strong.” Eagle, 532 F.3d at 624 (internal quotations

omitted)(quoting Assessment Technologies of WI, LLC v. WIREdata, Inc., 361 F.3d

434, 437 (7th Cir. 2004)). Thus, it would not be proper to apply a good faith/non-

frivolous standard in this case.




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      C. Reasonableness of Fees, Identification, and Documentation

      Plaintiffs contend that the fees requested by Grace Defendants are grossly

excessive and that Grace Defendants have not properly identified the fees at issue or

supported their request for fees. We agree. Grace Defendants have failed to justify

the $482,930.00 in attorneys’ fees for this case, which did not proceed to trial.

Based on the court’s knowledge of this case, the amount sought by Grace

Defendants is clearly excessive. Plaintiffs also correctly point out that Grace

Defendants improperly compare their fees to those incurred by Defendant Adam

Lyons and Defendant Lyons Design Group (Lyons Defendants). (Fee Decl. 12).

The amount of fees incurred by Lyons Defendants does not establish that the

amounts sought by Grace Defendants for their defense are reasonable. Also,

although Grace Defendants point to a series of documents including old fee petitions

from other cases and surveys, such documents do not establish the reasonableness of

their costs in this particular case. (Fee Decl. 11-12). Grace Defendants also fail to

clearly differentiate in their documents between the fees associated with the

copyright issues on which they actually prevailed and the issues in the other counts

that were not resolved. Grace Defendants only prevailed in this case on Count I of

the amended complaint and the other claims were dismissed without prejudice. See

Farrar v. Hobby, 506 U.S. 103, 115 (1992)(stating that “‘the most critical factor’ in


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determining the reasonableness of a fee award ‘is the degree of success

obtained’”)(quoting Hensley v. Eckerhart, 461 U.S. 424 (1983)).

      Defendants also improperly seek to recover fees incurred for case number 07

C 6369, which was a prior case filed by Plaintiffs against Grace Defendants. (Fee

Decl. 3, 3 n.1). However, the instant action is a separate and distinct action from

case number 07 C 6369, which was terminated on May 15, 2010. The instant action

was a newly filed action on May 16, 2008. Solely before the court are the

appropriate fees for the prevailing party in this case. Grace Defendants fail to

properly delineate fees relating to case number 07 C 6369 and the instant action in

their fee declaration. The court will not speculate as to the appropriate fees and

Grace Defendants have not met their burden to show that the requested amount is

reasonable and recoverable. Grace Defendants have failed to present their fees

request in a manner that would enable the court to efficiently assess the appropriate

amount of fees. Therefore, we deny without prejudice the motion for attorneys’ fees.

Grace Defendants may submit a new motion for attorneys’ fees relating to work

done in this case (08 C 2855) and relating to work on the claims that Grace

Defendants prevailed upon. Grace Defendants are given until June 28, 2010, to file

a motion for attorneys’ fees consistent with this opinion. Plaintiffs are given until

July 19, 2010, to file an answer, and Grace Defendants are given until August 2,


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2010, to file a reply.

       We also note that Plaintiffs argue that a stay of “the execution of any sizable”

attorneys’ fee award would be appropriate until the appeal is resolved in this case,

because such an award “would put [Plaintiff Nova Design Build, Inc.] out of

business.” (Ans. Fee 14). However, since the court has denied the request for

attorneys’ fees, the request for a stay is moot.




                                    CONCLUSION

       Based on the foregoing analysis, we grant Grace Defendants’ request for

$2,534.70 in costs and we deny Grace Defendants’ motion for attorneys’ fees

without prejudice.



                                         ___________________________________
                                         Samuel Der-Yeghiayan
                                         United States District Court Judge


Dated: June 8, 2010




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